            Case 1:21-cr-00418-RDM Document 51 Filed 03/20/23 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :

       v.                                    : CRIMINAL NO. 21-418

ERIC BOCHENE                                 :


                GOVERNMENT=S RESPONSE TO MARCH 17, 2023 ORDER

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully responds to this Court’s March 17, 2023, as follows:

       1.       On December 21, 2022, this Court ordered that the government, after consultation

with the United States Attorney’s Office in the Northern District of New York, identify an

individual to conduct a mental health evaluation of defendant Eric Bochene. The government

followed the Court’s Order and identified mental health expert James W. Mikesell, Ph.D., ABPP,

a clinical and forensic psychologist, located at 7000 E. Genesee Street, Onondaga County,

Fayetteville, New York 13066, (315) 449-0117.

       2.       During a status conference held on February 15, 2023, this Court ordered the

defendant to schedule an appointment with Dr. Mikesell on or before February 22, 2023. To the

government’s knowledge, on February 22, 2023, it was Dr. Mikesell, with knowledge of the

Court’s Order, who contacted the defendant and offered the latter the opportunity for an

appointment on either March 8, 2023 or March 13, 2023. The defendant agreed to appear for an

appointment on March 13, 2023.

       3.       During the February 15, 2023 status conference, this Court also rescheduled the

date for a competency hearing to March 22, 2023.
            Case 1:21-cr-00418-RDM Document 51 Filed 03/20/23 Page 2 of 3




       4.       On March 17, 2023, this Court ordered the government to provide a status report

that addressed the following: (1) whether the defendant’s evaluation with Dr. Mikesell has been

completed and whether Dr. Mikesell has had sufficient time to prepare his report; (2) whether the

parties are prepared to move forward with an in-person competency hearing on March 22, 2023

at 10:00 a.m.; and (3) whether Dr. Mikesell would be appearing at the competency hearing in-

person or by video.

       5.       On March 17, 2023, counsel for the government forwarded this Court’s March 17,

2023 Order to Dr. Mikesell and posed the questions contained therein. Additionally, this Court

ordered the government to respond to the March 17, 2023 Order on or before March 20, 2023.

       6.       On March 17, 2023, stand-by counsel for the defendant informed counsel for the

government that she was unaware of the status of the requested evaluation.

       7.       At this time on March 20, 2023, counsel for the government has not received a

response to the government’s inquiry on March 17, 2023, from Dr. Mikesell. Moreover, counsel

for the government has not learned anything from the defendant.

       8.       For the above reasons, the government is seeking a continuance of the scheduled

competency hearing for a period of 30 days to permit the government to receive an appropriate

response from either the defendant or Dr. Mikesell. Additionally, the government is respectfully

requesting that the Court schedule a status conference for the parties during the week of March




                                                2
         Case 1:21-cr-00418-RDM Document 51 Filed 03/20/23 Page 3 of 3




27-31, 2023.

                              Respectfully submitted,

                              MATTHEW GRAVES
                              United States Attorney
                              D.C. Bar No. 481052

                              /s/ Anita Eve
                              ANITA EVE
                              Assistant United States Attorney (Detailee)
                              PA Bar No. 45519
                              Cell No. (215) 764-2177
                              Anita.eve@usdoj.gov




                                        3
